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         IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                     DISTRICT OF PENNSYLVANIA
 UNITED STATES OF AMERICA                      )
                                               )
                 v.                            )      Criminal No. 21-355
                                               )
 DEREK HILLEBRAND, ET. AL                      )

                                              ORDER

       On this 4th day of November, 2021, upon consideration of the Government’s Response to

the Defendant’s Motion to Modify Protective Order, it is

       ORDERED, that defense counsel may provide the electronic discovery materials in this

case to their litigation support specialist along with a copy of the original protective orders and a

copy of this Order; and it is

       FURTHER ORDERED, that defense counsel may provide a copy of the electronic

discovery materials to those defendants released on bond and shall provide a copy of the protective

orders already issued and this Order to those defendants. Those defendants on pre-trial release are

prohibited from further copying or disseminating the discovery that they are provided; and it is

       FURTHER ORDERED, that the electronic discovery materials may be loaded onto laptops

with their Internet and print capabilities disabled, those laptops to be delivered to the correctional

institutions where defendants are detained, access to those laptops to be in accordance with

institution policy. The defendants are prohibited from further copying or disseminating the

discovery that they are provided; and it is

       FURTHER ORDERED, that the defense counsel shall document what discovery is

provided to any litigation support specialist and defendant, and defense counsel shall retrieve all

discovery provided to the litigation support specialist and the defendant within seven days after

sentencing, or acquittal, or dismissal of the charges. The extra copies of the discovery retrieved
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from the litigation support specialist and the defendant must be returned to the government.

Defense counsel may continue to maintain the additional discovery in case an appeal is filed in

this matter.

                                            BY THE COURT:



                                            /s/ Christy Criswell Wiegand
                                            HONORABLE CHRISTY CRISWELL WIEGAND
                                            United States District Judge
